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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK

                                          MDL No. 2262
IN RE LIBOR-BASED FINANCIAL
INSTRUMENTS ANTITRUST LITIGATION

                                          Master File No. 1:11-md-2262-NRB
THIS DOCUMENT RELATES TO:                 ECF Case


The OTC Action                            Honorable Naomi R. Buchwald


         MEMORANDUM OF LAW IN SUPPORT OF OTC PLAINTIFFS’
            MOTION FOR FINAL APPROVAL OF SETTLEMENT
              WITH CITIBANK, N.A. AND CITIGROUP INC.




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        Pursuant to Federal Rule of Civil Procedure 23(c), (e), and (g), OTC Plaintiffs, by and

through their counsel, Susman Godfrey LLP and Hausfeld LLP (together, “Interim Co-Lead

Counsel”), respectfully submit this Memorandum of Law in Support of their Motion for Final

Approval of Settlement with Citibank N.A. and Citigroup Inc., requesting final approval of the

Settlement, final approval of the plan of distribution, final approval of the notice disseminated to

class members, certification of the Settlement Class, and appointment of Hausfeld LLP and

Susman Godfrey LLP as Co-Lead Counsel for the Settlement Class.

I.      INTRODUCTION

        Subject to this Court’s approval, OTC Plaintiffs, on behalf of the Settlement Class, have

agreed to settle all claims against Citibank N.A. and Citigroup Inc. (collectively, “Citi”) in

exchange for a cash payment of $130,000,000 and extensive cooperation from Citi.

        This is a very favorable result given the many inherent risks in litigation. Indeed, members

of the Settlement Class – sophisticated investors – have resoundingly supported the Settlement. 1

There has not been a single objection, and no class member has so far requested exclusion. The

money that will be distributed to class members making claims will be substantial, and because

OTC Plaintiffs’ and Settlement Class members’ claims against the non-settling defendants remain

intact, they will have the ability to recover more of their losses in future settlements. 2

        For several reasons, and as demonstrated below, the relief requested in the motion is

appropriate. First, the Settlement is an excellent result; is fair, reasonable and adequate under the

governing standards in this Circuit; and warrants final approval. Second, notice to potential

members of the Settlement Class complied with Rule 23 and due process, such that it also warrants


1       Unless otherwise defined herein, all capitalized terms have the meaning ascribed to them in the Settlement
Agreement Between OTC Plaintiffs Citibank N.A. and Citigroup Inc., dated July 27, 2017 (the “Settlement”).
2       Members of the Settlement Class also have the ability to claim funds from the previously approved settlement
with Barclays, and would have the right to share in proceeds from future settlements or any recoveries at trial.


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final approval. Third, the proposed Settlement Class meets all of the requirements of Rule 23 such

that the Court should certify it for purposes of this Settlement. Fourth, Interim Co-Lead Counsel

has diligently prosecuted this complex class action and should be appointed as Co-Lead Counsel

for the Settlement Class. Finally, the Plan of Distribution, which distributes funds on a pro rata

basis, is a fair, reasonable, and rational method for distributing the Net Settlement Fund to the

Settlement Class and also warrants final approval.

II.    BACKGROUND

       A.      Procedural History

       On August 31, 2017, the Court granted preliminary approval to the Settlement and granted

OTC Plaintiffs’ request to appoint Kenneth Feinberg as the Settlement Administrator, Rust

Consulting, Inc. as the Claims Administrator, and Huntington National Bank as the Escrow Agent.

ECF No. 2247.      On September 26, 2017, the Court found that the proposed notice plan

“constitute[d] the best notice practicable under the circumstances,” and preliminarily approved the

plan of distribution. ECF No. 2290. The Court subsequently approved edits to the Long Form

Notice. ECF No. 2232.

       B.      Class Notice

       As described in greater detail below, notice was provided to potential members of the

Settlement Class in compliance with the approved notice plan and amended notice plan. This

consists of notice in three ways: Direct Notice, Publication Notice, and Internet Notice.

       Direct Notice. OTC Plaintiffs provided direct notice to every potential class member that

could be identified through reasonable efforts. First, OTC Plaintiffs sent direct notice to 3,167

potential Citi counterparty addresses and 43,479 potential class members’ addresses that were




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obtained from the business records of other Defendants. 3 Rabe Decl. ¶7 & n.1. Second, Credit

Suisse AG and HSBC agreed to give direct notice to their own counterparties. Id. ¶ 7 n.2. 4 Third,

OTC Plaintiffs furnished direct notice to mailing lists comprising 24,123 institutional investors

(including insurance companies, pension funds, hedge funds, and banks) and 66,946 state, city,

and county government offices that are likely to be potential class members. Id. ¶ 7 n.1. Consistent

with the Court’s orders, direct notice was dispatched to potential Settlement Class members on

November 14, 2017. Id. ¶¶ 11.

         Publication Notice. Between October 30, 2017 and November 13, 2017 , OTC Plaintiffs

transmitted Publication Notice in 4 national newspapers, 2 business magazines, and 9 trade

magazines. Wheatman Decl. ¶¶ 18-23, Ex. 1. These publications included The Economist;

Bloomberg Businessweek; Institutional Investor; Pensions & Investments; Financial Times; and

The Wall Street Journal. Id. In addition, on August 1, 2017, OTC Plaintiffs disseminated notice

through a global press release distributed through Business Wire to key financial and business

media, with coverage of newspapers, television, radio, news agencies, analysts and business

publications/editors throughout the world, using a variety of platforms and aggregators including

AP Mobile, Yahoo! Finance and Viigo. Id. ¶ 30.

         Internet Notice. Internet Notice provided potential Class Members with additional notice

opportunities. The Internet Notice was allocated to maximize gross impressions 5 through various

targeted websites (e.g., LinkedIn, Traders Magazine Online News, and CFA Institute Financial


3        Barclays; Citi; JPMorgan Chase, RBC, Bank of America, Deutsche Bank, and UBS.
4        Every live Defendant in the OTC Action has cooperated with OTC Plaintiffs in sending notice to potential
members of the Settlement Class. As to the dismissed Defendants, on February 3, 2017, OTC Plaintiffs informed the
Court that several defendants dismissed for lack of personal jurisdiction refused to produce their counterparty
addresses. ECF No. 1764. Plaintiffs asked for an order compelling defendants to produce that data, should the Court
deem that necessary for notice of the Barclays Settlement. No such order was issued.
5        Gross impressions are the total number of times a media outlet containing the Notice is seen. This figure does
not represent the total number of unique viewers of the Notice, as some viewers/readers will see the Notice in more
than one media outlet. Wheatman Decl. ¶ 25 n. 2.


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NewsBrief). Id. ¶¶ 24-27, Ex. 3.

        Settlement Website. On November 14, 2017, OTC Plaintiffs also established the

Settlement Website − https://USDollarLiborSettlement.com/mainpage/Citibank/Home.aspx − to

enable members of the Settlement Class to obtain all information about the Settlement and to file

a claim electronically. Rabe Decl. ¶¶ 16-18. 6 As of December 14, 2017, the Settlement Website

has had 56,601 unique visitors, who have downloaded the notice 177 times and submitted 47

claims. Id. ¶ 17.

        This complied with all aspects of the approved notice plans. Rabe Decl. ¶¶ 1-2, 6-21, Exs.

A & B; Wheatman Decl. ¶¶ 1-3, 12-37, Exs. 1-4.

III.    ARGUMENT

        A.       The Settlement Should Be Finally Approved.

        Rule 23(e) provides that the Court should grant final approval to a class action settlement

if it is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). In making this determination, the

Court should consider both the procedural and substantive fairness of the settlement. See Wal-Mart

Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir. 2005); In re Am. Int’l Grp., Inc. Sec.

Litig., 293 F.R.D. 459, 464 (S.D.N.Y. 2013). Public policy favors the settlement of disputed claims

among private litigants, particularly in class actions. See Wal-Mart, 396 F.3d at 116-17; Allen v.

Dairy Farmers of Am., Inc., No. 5:09-CV-230, 2011 WL 1706778, at *2 (D. Vt. May 4, 2011).

Recently, in the Yen LIBOR case,

                 1.       The Settlement is Presumptively Fair, Reasonable, and Adequate

        Where a settlement is the “product of arm’s length negotiations conducted by experienced

counsel knowledgeable in complex class litigation,” the settlement enjoys a “presumption of


6        All notices referred potential members of the Settlement Class to that website so that they could obtain
information about the Settlement and to make a claim electronically. See Rabe Decl. Exs. A & B.


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fairness.” In re Austrian and German Bank Holocaust Litig., 80 F. Supp. 2d 164, 173-74 (S.D.N.Y.

2000); see also Wal-Mart, 396 F.3d at 116. Indeed, in such circumstances, “‘great weight’ is

accorded to the recommendations of counsel, who are most closely acquainted with the facts of

the underlying litigation.” In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. at 125; see also In re

Telik, Inc. Sec. Litig., 576 F. Supp. 2d 570, 576 (S.D.N.Y. 2008). That is precisely the case here.

The Settlement was reached after extended, frank, and contentious negotiations over the course of

more than two years, including a mediation session and negotiations conducted under the guidance

of the Honorable Layn R. Phillips. 7 The involvement of a a mediator strengthens the presumption

of fairness. In re Flag Telecom Holdings, Ltd. Sec. Litig., No. 02-CV-3400 (CM) (PED), 2010

WL 4537550, at *14 (S.D.N.Y. Nov. 8, 2010) (noting that the “presumption in favor of the

negotiated settlement in this case is strengthened by the fact that settlement was reached in an

extended mediation”); D'Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001) (“[A] mediator’s

involvement . . . helps to ensure that the proceedings were free of collusion and undue pressure.”).

         Moreover, OTC Plaintiffs played an active role in the litigation and support the Settlement.

These OTC Plaintiffs are highly sophisticated, such as Yale University and Baltimore. OTC

Plaintiffs’ involvement further supports the presumption of fairness. See In re Veeco Instruments

Inc. Sec. Litig., No. 05 MDL 01695 (CM), 2007 WL 4115809, at *5 (S.D.N.Y. Nov. 7, 2007)

(noting that a settlement reached “under the supervision and with the endorsement of a

sophisticated institutional investor . . . is entitled to an even greater presumption of

reasonableness.”).




7        For a more extended discussion of the procedural history of this case, including a summary of the claims, the
settlement negotiations, and the terms of the settlement, the OTC Plaintiffs hereby incorporate by reference the
Declaration of Marc. M. Seltzer, filed with the motion for preliminary approval. ECF No. 2197.


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                  2.       The Grinnell Factors Support Final Approval of the Settlement

         The Settlement is also substantively fair, reasonable, and adequate. The Second Circuit has

identified nine factors the courts should examine when considering whether to final approve a

proposed class settlement (the “Grinnell factors”):

         (1) the complexity, expense and likely duration of the litigation, (2) the reaction of
         the class to the settlement, (3) the stage of the proceedings and the amount of
         discovery completed, (4) the risks of establishing liability, (5) the risks of
         establishing damages, (6) the risks of maintaining the class action through the trial,
         (7) the ability of the defendants to withstand a greater judgment, (8) the range of
         reasonableness of the settlement fund in light of the best possible recovery, and (9)
         the range of reasonableness of the settlement fund to a possible recovery in light of
         all the attendant risks of litigation.

City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds

by Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000). As demonstrated below, the

Settlement amply satisfies the Grinnell factors. 8

                           a.        The Complexity, Expense, and Likely Duration of the
                                     Litigation (Factor 1)

         Courts in this Circuit have frequently remarked that antitrust cases readily meet the first

Grinnell factor. See In re Vitamin C Antitrust Litig., No. 06-MD-1738 BMC JO, 2012 WL

5289514, at *4 (E.D.N.Y. Oct. 23, 2012) (“Federal antitrust cases are complicated, lengthy, and

bitterly fought, as well as costly.”); see also Virgin Atl. Airways Ltd. v. British Airways PLC, 257

F.3d 256, 263 (2d Cir. 2001); Weseley v. Spear, Leeds & Kellogg, 711 F. Supp. 713, 719 (E.D.N.Y.

1989). This is because “the more complex, expensive, and time consuming the future litigation,

the more beneficial settlement becomes as a matter of efficiency to the parties and the Court.” In

re Citigroup Inc. Sec. Litig., 965 F. Supp. 2d 369, 381-82 (S.D.N.Y. 2013).


8         “[N]ot every factor must weigh in favor of settlement[;] rather [a] court should consider the totality of these
factors in light of the particular circumstances.” In re IMAX Securities Litig., 283 F.R.D. 178, 189 (S.D.N.Y. June 20,
2012). And in reviewing a settlement, a court “should not attempt to approximate a litigated determination of the
merits of the case lest the process of determining whether to approve a settlement simply substitute one complex, time
consuming and expensive litigation for another.” In re Marsh ERISA Litig., 265 F.R.D. 128, 138 (S.D.N.Y. 2010).


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       This case fits comfortably in that rule. OTC Plaintiffs first brought this action more than

six years ago, and since then, they have persevered through multiple rounds of motion to dismiss

briefing and a contentious appeal to the Supreme Court and back; reviewed more than 1.1 million

documents produced in discovery and over 6,000 audio files; fully briefed class certification,

including development of a comprehensive expert model; and are currently briefing a pending

appeal in the Second Circuit. Although OTC Plaintiffs are resoundingly confident in their claims,

there can be little doubt that, absent the Settlement, Citi would have mounted a robust defense in

future stages of the litigation, including trial. At each stage, the losing party would have likely

sought to appeal, resulting in further expense and delay. See In re Payment Card Interchange Fee

& Merch. Disc. Antitrust Litig., 986 F. Supp. 2d 207, 212 n.13 (E.D.N.Y. 2013), rev’d and vacated

on other grounds, 827 F.3d 223 (2d Cir. 2016) (“Interchange”) (“In the Wal-Mart case, twenty

months elapsed between the order certifying the class and the Second Circuit’s divided opinion

affirming that decision.”); In re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D. 465, 477

(S.D.N.Y. 1998) (“NASDAQ III”) (estimating that trial could consume over a year); In re Glob.

Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 456 (S.D.N.Y. 2004) (citing the same

considerations and finally approving a partial settlement).

       In short, “[t]here can be no doubt that this class action would be enormously expensive to

continue, [and] extraordinarily complex to try,” NASDAQ III, 187 F.R.D. at 477, and the $130

million all-cash Settlement at this juncture results in an immediate and substantial recovery without

the expense and delay of continued litigation, a trial, and likely appeals, as to Citi. See Strougo ex

rel. Brazilian Equity Fund, Inc. v. Bassini, 258 F. Supp. 2d 254, 261 (S.D.N.Y. 2003) (“[T]he

passage of time would introduce yet more risks . . . and would, in light of the time value of money,

make future recoveries less valuable than this current recovery”). OTC Plaintiffs respectfully




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submit that the Court should find that this factor weighs in favor of the proposed Settlement.

                       b.      The Reaction of the Class to the Settlement (Factor 2)

       As described above, potential members of the Settlement Class were provided direct,

publication, and internet notice of the Settlement. Rabe Decl. ¶¶ 1-2, 6-21, Exs. A & B; Wheatman

Decl. ¶¶ 1-3, 12-37, Exs. 1-4. The various forms of notice explain, in clear and concise language,

the legal options and monetary benefits available to class members under the Settlement, and were

created with the help of a leading expert in the form and content of notice. Wheatman Decl. ¶¶ 4-

6, 32-37. While the deadline set by the Court for members of the Settlement Class to object to the

Settlement or exclude themselves from the Settlement Class has not yet passed, to date, no

objections and no requests for exclusion have been received to date. Rabe Decl. ¶¶ 20-21. This is

a significant factor weighing in favor of final approval. E.g., In re Bear Stearns Companies, Inc.

Secs., Derivative, and ERISA Litig., 909 F. Supp. 2d 259, 266-67 (S.D.N.Y. 2012); Wal-Mart, 296

F.3d at 118 (“If only a small number of objections are received, that fact can be viewed as

indicative of the adequacy of the settlement.”).

                       c.      The Stage of the Proceedings (Factor 3)

       There can be little doubt that OTC Plaintiffs “have obtained a sufficient understanding of

the case to gauge the strengths and weaknesses of their claims and the adequacy of the settlement.”

In re AOL Time Warner, Inc., No. 02 CIV. 5575 (SWK), 2006 WL 903236, at *10 (S.D.N.Y. Apr.

6, 2006). First, the parties have been litigating this action for more than six years and have received

numerous lengthy rulings from the Court on the viability of their claims, see ECF Nos. 286, 389,

568, 1164, 123; have briefed and argued the viability of the antitrust claim in the Second Circuit

and are now in the midst of briefing personal jurisdiction issues in the Second Circuit; see Gelboim

v. Bank of America Corp., 823 F.3d 759 (2d Cir. 2016); In Re: Libor-Based Financial Instruments

Antitrust Litig., No. 17-1569 (2d Cir.); have briefed an amicus filing to the Supreme Court on


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appellate jurisdiction in Gelboim, see Brief amici curiae of Mayor and City Council of Baltimore,

Gelboim v. Bank of America Corp., Nos. 13-3565, 13-3566 (S. Ct. Sept. 5, 2014); and have fully

briefed a motion for class certification and submitted extensive supporting evidence that includes

expert analysis quantifying the magnitude of alleged LIBOR suppression, see ECF Nos. 1904-06,

2030-34, 2190-91. Second, as discussed above OTC Plaintiffs have reviewed over a million

documents and thousands of audio files. Prior to the Settlement, Interim Co-Lead Counsel

reviewed and briefed facts stemming from numerous public filings by regulators revealing in detail

wrongdoing by Citi and other defendants. The information gained through litigation and discovery

has provided Interim Co-Lead Counsel with a comprehensive understanding of the relative

strengths and weaknesses of OTC Plaintiffs’ case and supports final approval of the Settlement.

See In re Currency Conversion Fee Antitrust Litig., 263 F.R.D. 110, 122 (S.D.N.Y. 2009) (noting

the “extensive” experience of counsel in granting final approval of settlement).

                       d.      The Risks of Establishing Liability and Damages
                               (Factors 4 and 5)

       “In assessing the Settlement, the Court should balance the benefits afforded the Class,

including the immediacy and certainty of a recovery, against the continuing risks of litigation.”

Interchange, 986 F. Supp. 2d at 224 (emphasis in original). In so doing, the Court need not

“adjudicate the disputed issues or decide unsettled questions; rather, the Court need only assess

the risk of litigation against the certainty of recovery under the proposed settlement.” In re Global

Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 459 (S.D.N.Y. 2004).

       Interim Co-Lead Counsel recognized that they faced obstacles to proving liability and

establishing damages in this complex case. See Park v. The Thomson Corp., No. 05 CIV. 2931

(WHP), 2008 WL 4684232, at *4 (S.D.N.Y. Oct. 22, 2008) (“The complexity of Plaintiff’s claims

ipso facto creates uncertainty.”); NASDAQ III, 187 F.R.D. at 475 (settlement approval warranted



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“especially in a case of this complexity and magnitude”). Citi has denied, and continues to deny,

any wrongdoing, and “[e]stablishing otherwise [would] require considerable additional pre-trial

effort and a lengthy trial.” Charron v. Pinnacle Grp. N.Y. LLC, 874 F. Supp. 2d 179, 199 (S.D.N.Y.

2012), aff’d sub nom., Charron v. Wiener, 731 F.3d 241 (2d Cir. 2013); see also Park, 2008 WL

4684232, at *4 (“Liability is never automatic.”).

        And even though OTC Plaintiffs believe they would be able to establish Citi’s liability at

trial, all antitrust cases involve risk. See NASDAQ III, 187 F.R.D. at 476 (“The history of antitrust

litigation is replete with cases in which antitrust plaintiffs succeeded at trial on liability, but

recovered no damages, or only negligible damages, at trial, or on appeal.”); Cardiology Assocs.,

P.C. v. Nat’l Intergroup, Inc., No. 85 CIV. 3048 (JMW), 1987 WL 7030, at *3 (S.D.N.Y. Feb. 13,

1987) (“There is a substantial risk that the plaintiff might not be able to establish liability at all

and, even assuming a favorable jury verdict, if the matter is fully litigated and appealed, any

recovery would be years away.”). When compared to the certainty of the significant recovery

achieved by the Settlement, these considerations militate against further litigation and support final

approval of the Settlement.

                        e.      The Risks of Maintaining the Class Action through
                                Trial (Factor 6)

        Interim Co-Lead Counsel have explained in detail why they believe the Court should

certify a proposed litigation class under Fed. R. Civ. P. 23 (a) and 23(b)(3). See ECF Nos. 1904-

06, 2190-91. But class certification can be reviewed and modified at any time before trial. That

possibility also weighs in favor of final approval at this juncture. See Frank v. Eastman Kodak Co.,

228 F.R.D. 174, 186 (W.D.N.Y. 2005) (noting that “[w]hile plaintiffs might indeed prevail [on a

motion for class certification], the risk that the case might be not certified is not illusory”); see also

Comcast Corp. v. Behrend, 133 S. Ct. 1426 (2013).



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                            f.       The Ability of Defendants to Withstand a Greater
                                     Judgment (Factor 7)

         While large financial institutions ordinarily can “withstand a greater judgment,” 9 given the

extent of the cooperation being provided by Citi and the fact that the Settlement amount represents

a significant cash payment by Citi, this factor also supports final approval here. See In re Pressure

Sensitive Labelstock Antitrust Litig., 584 F. Supp. 2d 697, 702 (M.D. Pa. 2008) (“[T]he benefit of

obtaining the cooperation . . . tends to offset the fact that they would be able to withstand a larger

judgment.”).

                            g.       The Reasonableness of the Settlement in Light of the
                                     Best Possible Recovery and the Attendant Risks of
                                     Litigation (Factors 8 and 9)

         The last two Grinnell factors “recognize[] the uncertainties of law and fact in any particular

case and the concomitant risks and costs necessarily inherent in taking any litigation to

completion.” Wal-Mart, 396 F.3d at 119 (quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir.

1972)). This is not a “mathematical equation yielding a particularized sum.” Massiah v. MetroPlus

Health Plan, Inc., No 11 CV 05669, 2012 WL 5874655, at *5 (E.D.N.Y. Nov. 20, 2012); see also

In re Ionosphere Clubs, Inc., 156 B.R. 414, 431 (S.D.N.Y. 1993). Rather, the range of

reasonableness “recognizes the uncertainties of law and fact in any particular case and the

concomitant risks and costs necessarily inherent in taking any litigation to completion.” Newman,

464 F.2d at 693; see also In re “Agent Orange” Prod. Liab. Litig., 597 F. Supp. 740, 762 (E.D.N.Y.

1984); NASDAQ III, 187 F.R.D. at 478. As noted in one prominent antitrust case, the “essence of

a settlement is compromise. A just result is often no more than an arbitrary point between

competing notions of reasonableness.” In re Corrugated Container Antitrust Litig., 659 F.2d 1322,



9        “[I]n any class action against a large corporation, the defendant entity is likely to be able to withstand a more
substantial judgment, and, against the weight of the remaining factors, this fact alone does not undermine the
reasonableness of the instant settlement.” Weber v. Gov’t Emps. Ins. Co., 262 F.R.D. 431, 447 (D.N.J. 2009).


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1325 (5th Cir. 1981); see also Grinnell, 495 F.2d at 455 n.2 (“[T]here is no reason, at least in

theory, why a satisfactory settlement could not amount to a hundredth or even a thousandth part

of a single percent of the potential recovery.”).

       Here, the $130 million Settlement is an excellent result. Not only will the cash provide an

immediate monetary benefit to Class Members, but the Settlement also preserves their right to

recover the entire amount of damages against the Non-Settling Defendants based on joint and

several liability (after an offset post-trebling for the settlement amounts). See In re Corrugated

Container Antitrust Litig., No. MDL 310, 1981 WL 2093, at *17 (S.D. Tex. June 4, 1981) (noting

that partial settlements preserved plaintiffs’ ability to seek the entire amount of damages from non-

settling defendants weighed in favor of settling approval).

       Citi’s obligation to provide information pursuant to the Settlement Agreement is likewise

extremely valuable to OTC Plaintiffs and the Settlement Class even if financially unquantifiable.

As the court in In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, 2015 WL 9266493

(N.D. Cal. Dec. 17, 2015), recently held, the “‘provision of such assistance is a substantial benefit

to the classes and strongly militates toward approval of the Settlement Agreement.’” Id. at *6

(quoting In re Linerboard Antitrust Litig., 292 F. Supp. 2d at 643); see also Precision Assocs. v.

Panalpina World (Holding) Transp. Ltd., No. 08-CV-42 (JG) (VVP), 2013 WL 4525323, at *9

(E.D.N.Y. Aug. 27, 2013); IPO, 226 F.R.D. at 197.

       Finally, as the second settlement in the OTC Action, this Settlement has the potential to

‘“bring other defendants to the point of serious negotiations.” See In re Linerboard Antitrust Litig.,

292 F. Supp. 2d 631, 643 (E.D. Pa. 2003) (noting “that this settlement has significant value as an

‘ice-breaker’ settlement—it is the first settlement in the litigation—and should increase the

likelihood of future settlements.”). This exerts significant pressure on the non-settling Defendants.




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See In re High-Tech Employee Antitrust Litig., No. 11-CV-2509-LHK, 2013 WL 6328811, at *1

(N.D. Cal. Oct. 30, 2013). As the court in In re Corrugated Container Antitrust Litigation,

explained: “[T]his strategy was designed to achieve a maximum aggregate recovery for the class

and the fact that the later settlements were at considerably higher rates tends to show that the

strategy was successful.” 1981 WL 2093, at *23.

         B.       The Court Should Certify the Settlement Class

         In accordance with the Settlement, OTC Plaintiffs respectfully request that the Court

certify the following class (the “Citi Settlement Class”) for settlement purposes:

         All persons or entities (other than Defendants and their employees, affiliates,
         parents, and subsidiaries) that purchased in the United States, directly from a
         Defendant (or a Defendant’s subsidiaries or affiliates), a U.S. Dollar LIBOR-Based
         Instrument and that owned the U.S. Dollar LIBOR-Based Instrument any time
         during the period August 2007 through May 2010 (the “Class Period”).

Settlement ¶ 3(a). 10 OTC Plaintiffs previously filed a motion to certify the Barclays Settlement

Class, ECF No. 1337 at 12-22, and for the reasons set for therein, the Citi Settlement Class more

than satisfies the requirements for certification of a settlement class. 11

         In response to questions raised by the Court at the Barclays final approval hearing, OTC




10        This is the same settlement class used in the Barclays settlement, which is currently pending final approval.
11        OTC Plaintiffs have also submitted extensive briefing and expert reports in support of their motion to
certify a litigation class. ECF Nos. 1905, 2190. It should be noted, however, that “the predominance inquiry will
sometimes be easier to satisfy in the settlement context.” This is because “concerns about whether individual issues
would create ‘intractable management problems’ at trial drop out of the predominance analysis because ‘the
proposal is that there be no trial.’” In re American Int’l Group, Inc. Secs. Litig., 689 F.3d 229, 240 (2d Cir. 2012)
(quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997). For this reason, it is common for a settlement
classes to be certified even after certification of a litigation class has been denied. See, e.g., In re Insurance
Brokerage Antitrust Litig., 579 F.3d 241 (3d Cir. 2009) (certifying settlement class); In re Processed Egg Prods.
Antitrust Litig., No. 08-md-2002, 2016 WL 3584632, at *8-12 (E.D. Pa. Jun. 30, 2016) (finding that the court’s
previous decision not to certify a subclass of certain purchasers is not dispositive for the court’s determination as to
whether to certify a settlement class including such purchasers); In re Dynamic Random Access Memory (DRAM)
Antitrust Litig., No. M-02-1486- PJH, 2013 U.S. Dist. LEXIS 188116, at *213 n.112 (N.D. Cal. Jan. 8, 2013) (courts
considering certification of a settlement class can find that common issues predominate without “grappl[ing] with . .
. whether or how the fact of damage, or ‘antitrust impact,’ could be proved on a classwide basis”); Ramirez v.
DeCoster, 142 F. Supp. 2d 104, 111 (D. Me. 2001) (certifying settlement class after declining to certify litigation
class).


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Plaintiffs note that certification of a settlement class is not dispositive of whether a litigation class

should be certified. The proposed order submitted herewith explicitly provides that certification

of the Settlement Class “is without prejudice to, or waiver of the rights of, any defendant to contest

certification of any other class” and “shall have no effect on the Court’s ruling on any motion to

certify any class,” and “no party may cite or refer to the Court’s approval of the class as persuasive

or binding authority with respect to any motion to certify any such class.” [Proposed] Order at ¶7.

Similar language was included in final orders approving settlements and certifying settlement

classes in the Yen LIBOR case. See Laydon v. Bank of Tokyo-Mitsubishi UFJ, Ltd. el al., No. 12-

cv-3419 (GBD) (S.D.N.Y. Nov. 10, 2016) (ECF No. 720).

        Conversely, the fact that Citi opposed class certification does not preclude certification of

a settlement class. It is common for courts to certify settlement classes while certification of a

litigation class is being contested in ongoing litigation. For example, while a decision regarding

certification of a litigation class was pending in In re Air Cargo Shipping Servs. Antitrust Litig.,

No. 06-1775 (E.D.N.Y.), Judge Gleeson certified settlement classes as to defendants Singapore

Airlines Limited and Singapore Airlines Cargo PTE Ltd. (“Singapore”), Cathay Pacific Airways

Limited (“Cathay Pacific”), and Korean Air Lines Co., Ltd. (“Korean”), which had all opposed

certification of a litigation class. See ECF Nos. 1842 (April 23, 2013 letter notifying court of filing

of joint sur-reply in opposition to class certification, joined by, inter alia, Singapore, Cathay

Pacific, and Korean); 1972 (January 29, 2014 order certifying Korean settlement class); 1980 at

n.8 (January 29, 2014 order certifying Singapore settlement class); 1992 (March 4, 2014 order

certifying Cathay Pacific settlement class).

        Accordingly, OTC Plaintiffs have satisfied the requirements for certification of a

settlement class.




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       C.      The Court Should Appoint OTC Plaintiffs’ Counsel as Counsel for the Class

       Under Rule 23(g), a court that certifies a class must appoint class counsel, who is charged

with fairly and adequately representing the interests of the class. See Fed. R. Civ. P. 23(g)(1). In

determining class counsel, the Court must consider (1) the work undertaken by counsel in

identifying or investigating the potential claims; (2) counsel’s experience in handling class actions,

other complex litigation, and similar claims; (3) counsel’s knowledge of the applicable law; and

(4) the resources that counsel will commit to representing the class. See Fed. R. Civ. P. 23(g)(1)(A).

       OTC Plaintiffs’ Interim Co-Lead Counsel readily meet these requirements and should be

appointed as counsel for the Settlement Class, for the reasons set forth in the prior briefing on this

issue. ECF No. 1678.

       D.      Notice to the Class Comported with Rule 23 and Due Process

       A notice program must satisfy both Rule 23(c)(2)(B) and Rule 23(e)(1). Rule 23(c)(2)(B)

requires the “best notice that is practicable under the circumstances, including individual notice to

all members who can be identified through reasonable effort.” See Eisen v. Carlisle & Jacquelin,

417 U.S. 156, 173-75 (1974). However, neither individual nor actual notice to every class member

is required; instead, class counsel [need only] act[] reasonably in selecting means likely to inform

the persons affected.” Jermyn v. Best Buy Stores, L.P., No. 08 CIV. 00214 CM, 2010 WL 5187746,

at *3 (S.D.N.Y. Dec. 6, 2010) (citing Weigner v. The City of New York, 852 F.2d 646, 649 (2d Cir.

1988)); see also In re Adelphia Commc’ns Corp. Sec. & Derivatives Litig., 271 F. App’x 41, 44

(2d Cir. 2008). As for Rule 23(e)(1), it requires that notice of a settlement be “reasonable” – i.e.,

it must “fairly apprise the prospective members of the class of the terms of the proposed settlement

and of the options that are open to them in connection with the proceeding.” Wal-Mart, 396 F.3d

at 114. As explained below, the approved notice program satisfies both of these requirements and




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should be finally approved.

       This Court approved the notice plan. ECF No. 2290. The notice actually sent to potential

claimants complied in all respects with the plan this Court already approved. Rabe Decl. ¶¶ 1-2,

6-21, Exs. A & B; Wheatman Decl. ¶¶ 1-3, 12-37, Exs. 1-4.

               1.      Notice Was the Best Practicable Under the Circumstances

       As described above, notice was provided to potential members of the Settlement Class in

three ways: Direct Notice, Publication Notice, and Internet Notice. Courts routinely approve notice

programs that combine multiple means of notice, such as this one. See, e.g., In re Vitamin C

Antitrust Litig., 2012 WL 5289514, at *8 (“The notice was also distributed widely, through the

internet, print publications, and targeted mailings. The Court concludes that the distribution of the

class notice was adequate.”); In re Credit Default Swaps Antitrust Litig., No. 13MD2476 (DLC),

2016 WL 2731524, at *5 (S.D.N.Y. Apr. 26, 2016) (“Class Counsel mailed notice packets to each

of 13,923 identified Class members. . . . . The Summary Notice was also published on January 11

in several important business publications. . . . The [claims administrator] launched a website for

the Settlement which posted the Settlement agreements, notices, court documents, and other

information relevant to the Settlement.”); see also MANUAL FOR COMPLEX LITIGATION §

30.211, at 223. The Court should similarly conclude here.

               2.      The Notice “Fairly Apprised” Potential Class Members of the Settlement
                       and Their Options

       The contents of a class action settlement notice must (1) “fairly apprise the prospective

members of the class of the terms of the proposed settlement and of the options that are open to

them in connection with the proceedings” and (2) be written as to “be understood by the average

class member.” Wal-Mart, 396 F.3d at 114-15 (quoting Weinberger v. Kendrick, 698 F.2d 61, 70

(2d Cir. 1982)). “There are no rigid rules to determine whether a settlement notice satisfies



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constitutional or Rule 23(e) requirements . . . .” In re Vitamin C, 2012 WL 5289514, at *8

(quotation omitted); however, courts typically consider (a) “whether there has been a succinct

description of the substance of the action and the parties’ positions”; (b) “whether the parties, class

counsel, and class representatives have been identified”; (c) “whether the relief sought has been

indicated”; (d) “whether the risks of being a class member, including the risk of being bound by

the judgment have been explained”; (e) “whether the procedures and deadlines for opting out have

been clearly explained”; and (f) “whether class members have been informed of their right to

appear in the action through counsel.” Id. (citing In re Payment Interchange Fee & Merch.

Discount Antitrust Litig., No. 05-MD-1720, 2008 WL 115104, at *15 (E.D.N.Y. Jan. 8, 2008)).

       Dr. Wheatman, who assisted in the preparation of the notice and is a nationally recognized

expert in the form and content of class notice, has concluded that (a) the Direct Notice “effectively

communicate[s] information about the Settlement,” and (b) the Publication Notice “is designed to

capture the Class Member’s attention with clear, concise, plain language,” and contains plain

language text providing “important information regarding the subject of the litigation, the Class

definition, and the legal rights available to Class Members,” without omitting any “important or

required information.” Wheatman Decl. ¶¶ 4-6, 32-37. Thus, the contents of the various forms of

notice “provided sufficient information for Class Members to understand the Settlement and their

options.” Sykes, 2016 WL 3030156, at *10.

       More specifically, both the Direct Notice’s substance and method of dissemination to

potential members of the Settlement Class assure conveyance of the information required by Rule

23(c)(2)(B), including a plain language explanation of (a) the nature of the case, the claims and

defenses, the class definition, the background of the Settlement, and how the settlement funds will

be allocated upon final approval; (b) the right to opt out of the Settlement Class, to object to the




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Settlement, and to appear at the Final Approval Hearing − and the processes and deadlines for

doing so; and (c) the binding effect of judgment on those who do not exclude themselves from the

Settlement Class. Wheatman Decl. ¶¶ 4-6, 32-37; Rabe Decl. Exs. A & B.

       In addition, the Direct Notice contains other information, such as Interim Co-Lead

Counsel’s intent to request attorneys’ fees, expense reimbursement, and service awards. The direct

notice also prominently features contact information for the Claims Administrator and Interim Co-

Lead Counsel, which Class Members can utilize to obtain further information, if desired. The

Direct Notice also provides recipients with information on how to submit a Claim Form in order

to be potentially eligible to receive a distribution from the settlement fund. Id.

       E.        The Plan of Distribution Should be Finally Approved.

       The relevant standards for final approval of a plan of distribution were summarized recently

by Judge Cote:

       A district court has broad supervisory powers with respect to the allocation of
       settlement funds. The plan of allocation must meet the standards by which the
       settlement is scrutinized — namely, it must be fair and adequate. A plan need only
       have a reasonable, rational basis, particularly if recommended by experienced and
       competent class counsel. A principal goal of a plan of distribution must be the
       equitable and timely distribution of a settlement fund without burdening the process
       in a way that will unduly waste the fund. In the case of a large class action the
       apportionment of a settlement can never be tailored to the rights of each plaintiff
       with mathematical precision. The challenge of precisely apportioning damages to
       victims is often magnified in antitrust cases, as damage issues in antitrust cases are
       rarely susceptible of the kind of concrete, detailed proof of injury which is available
       in other contexts.

In re Credit Default Swaps Antitrust Litig., 2016 WL 2731524, at *9 (internal citations and

quotations omitted). The Plan of Distribution, which is the same plan of distribution proposed for

the Barclays settlement, satisfies these requirements.

       The Plan of Distribution was preliminarily approved by the Court on August 28, 2017, ECF

No. 2290, calculates, for each Class Member’s instrument(s), the claimant’s “overall notional



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stake” as the sum of the “suppressed daily underpayments.” 12 The suppressed daily underpayments

for each instrument are calculated as follows:

        For each day during the class period when the Claimant had the right to be paid or
        to receive interest based upon the U.S. Dollar LIBOR rate, the suppressed daily
        underpayment equals: the dollar amount of the LIBOR-based payment that was due
        to the Claimant that day (using historical reported LIBOR rates and payment
        frequency) multiplied by the magnitude of suppression applicable for that day and
        then divided by the historical reported LIBOR rate for that day.

Hausfeld Decl. ¶ 13. The Plan of Distribution proposes a pro rata distribution that is similar in

structure to the plans of distribution that have been approved to apportion settlement proceeds in

other financial instrument contexts. See, e.g., In re Credit Default Swaps, 2016 WL 2731524, at

*4 (“The Plan determines the amount to be paid on each Class member’s claim through three main

steps: (1) identifying qualifying Covered Transactions; (2) estimating the amount of bid/ask spread

inflation resulting from the Dealer Defendants’ alleged conduct with respect to each Covered

Transaction; and (3) calculating each claimant’s recovery based on its pro rata share of the

available Settlement Funds in relation to the recoveries to which all claimants who have submitted

a valid claim are entitled.”); Veeco, 2007 WL 4115809, at *14 (“Each valid claim will then be

calculated so that each authorized claimant will receive, on a proportionate basis, the share of the

net settlement fund that the claimant’s recognized loss bears to the total recognized loss of all

authorized claimants.”); Global Crossing, 225 F.R.D. at 462 (“Pro-rata distribution of settlement

funds based on investment loss is clearly a reasonable approach.”); In re Platinum and Palladium

Commodities Litig., 2014 WL 3500655, at *3 (S.D.N.Y. Jul. 15, 2014) (allocations based on

artificiality on each trading day).

        In addition, Interim Co-Lead Counsel believe that the Plan of Distribution provides a fair



12      Plaintiffs retained Dr. Bernheim to create a model that estimates the “suppressed daily underpayments” for
each day and each tenor during the class period.


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and reasonable method to equitably allocate the Net Settlement Fund among members of the

Settlement Class who suffered losses as a result of the conduct alleged in this litigation, and their

opinion is entitled to “considerable weight” by the Court. See In re Am. Bank Note Holographics,

Inc., 127 F. Supp. 2d 418, 430 (S.D.N.Y. 2001) (“As with other aspects of the settlement, the

opinion of experienced and informed counsel is entitled to considerable weight.”).

       Additionally, although unnecessary, Interim Co-Lead Counsel engaged independent

allocation counsel, which met at arm’s length and endorsed pro rata distribution of the settlement

fund. Hausfeld Decl. ¶ 14.

       Because the Amended Plan of Distribution represents a fair and equitable method for

allocating the settlement funds among Settlement Class Members who submit valid claims, it

merits final approval from the Court.

IV.    CONCLUSION

       For the foregoing reasons, OTC Plaintiffs respectfully request the Court grant final

approval to the Citi Settlement, certify the Settlement Class; grant final approval to the plan of

distribution; find that notice to the Settlement Class comports with due process; and appoint

Susman Godfrey and Hausfeld as counsel for the Settlement Class.



Dated: December 15, 2017

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